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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR: Plaintiff

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Display Technologies, LLC                                                      CASE NUMBER:


                                                                                                       2:21-cv-07507
                                                              Plaintiff(s),
                                     v.
ForaCare, Inc.
                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                       Plaintiff
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                     PARTY                                                              CONNECTION / INTEREST
Patent Asset Management, LLC                                                  Related to the plaintiff as a parent, subsidiary, or otherwise,
                                                                              or have a direct or indirect pecuniary interest in the
                                                                              plaintiff’s outcome in the case.




         September 20, 2021                                /s/ Stephen M. Lobbin
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
